        Case 3:16-md-02741-VC Document 18650 Filed 06/18/24 Page 1 of 2




                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        ORDER GRANTING MOTION FOR
                                                    SUGGESTION OF REMAND
   Kanaga et al. v. Monsanto Co.,
   Case No. 23-cv-05563-VC                          Re: Dkt. No. 18352




       The Kanaga Plaintiffs’ motion for a suggestion of remand to the District Court for the

Northern District of Ohio is granted.

       The plaintiffs seek a suggestion of remand because his complaint alleges that he was

diagnosed with Hodgkin’s lymphoma rather than non-Hodgkin’s lymphoma (“NHL”), and thus

his case falls outside the scope of this MDL. Monsanto states that it does not oppose the motion.

The Court also agrees that the plaintiff’s non-NHL diagnosis means that there is little to be

gained from adjudicating his case in this MDL. See In re: Roundup Prod. Liab. Litig., 214 F.

Supp. 3d 1346, 1347 (U.S. Jud. Pan. Mult. Lit. 2016) (“All the actions entail an overarching

query—whether glyphosate causes non-Hodgkin’s lymphoma in persons exposed to it while

using Roundup.”); see also Order Vacating Conditional Transfer Orders, In re: Roundup Prods.

Liab. Litig., MDL No. 2741, Dkt. No. 3301 (U.S. Jud. Pan. Mult. Lit. Dec. 7, 2023) (vacating

conditional transfer order regarding cases that would “would inject unique factual and legal

issues into the MDL at a late hour”).
       It may be worth noting that although the Kanaga plaintiffs now seek remand of their case,
        Case 3:16-md-02741-VC Document 18650 Filed 06/18/24 Page 2 of 2




the case did not end up in the MDL against their wishes. The plaintiffs filed their action using the

MDL’s short-form complaint, and they included the name of the MDL and the MDL case

number in their filings even before transfer. Then, after the Special Master denied the plaintiff’s

claim in the settlement program because of Glenn Kanaga’s diagnosis, they moved for a

suggestion of remand. In the future, where the plaintiff alleges a non-NHL diagnosis, it would

probably be more efficient if Section 1407 transfers didn’t occur in the first instance—perhaps

the JPML could decline to transfer the cases, or perhaps Monsanto can object to the conditional

transfer orders.

       Ordinarily, when the Court issues suggestions of remand for a given case, it is because

the case has been worked up and is ready for trial. The Court will typically provide a summary of

what has taken place in the MDL and in the individual case to aid the trial judge. However, in the

Kanagas’ case, little of substance has taken place. The case was filed in late 2023, and Monsanto

has yet to answer the complaint. If the judge who receives this case is interested in what has

taken place in this MDL, one of the Court’s other recent suggestions of remand can provide

background information.1 See, e.g., Dkt. No. 18434. But because the relevant diagnosis is for

Hodgkin’s lymphoma rather than NHL, this Court’s prior rulings may be less useful upon

remand.
       The Clerk of Court is directed to provide a copy of this suggestion of remand to the Clerk
of the United States Judicial Panel on Multidistrict Litigation and the Clerk of the Northern
District of Ohio.
       IT IS SO ORDERED.

Dated: June 18, 2024
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge



1
 The Court also maintains a webpage dedicated to the Roundup MDL that includes each of the
Court’s significant pretrial orders. Please see: https://www.cand.uscourts.gov/judges/chhabria-
vince-vc/in-re-roundup-products-liability-litigation-mdl-no-2741/


                                                 2
